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                             UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                         Plaintiff,           Case No. 2:22-cv-00389-DCN

      v.
                                              PLAINTIFF’S MOTION FOR LEAVE
FOUR SQUAREBIZ, LLC, a Wyoming                TO FILE OVERLENGTH BRIEF
limited liability company, KEITH O.
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                         Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorneys of record,

Andrew M. Wagley and Samir Dizdarevic-Miller of Etter, McMahon, Lamberson, Van Wert

& Oreskovich, P.C., and hereby respectfully moves for leave to file an overlength

Memorandum in Support of Plaintiff’s Motion for Default Judgment pursuant to L. Civ. R.




   Plaintiff’s Motion for Leave to File         ETTER, MCMAHON, LAMBERSON,
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                                                      618 WEST RIVERSIDE AVENUE, SUITE 210
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7.1(a)(2). This Motion is supported by the accompanying Memorandum of Law and the

Court File herein.

         As indicated in the Memorandum of Law, an Order allowing Plaintiff to file an

overlength brief is warranted based on the intricacies of the underlying facts, there being two

defendants against whom Default Judgment is sought, and the substantial legal analysis of the

seven, “Eitel Factors,” as well as other legal issues specific to this case. All Defendants

herein are in default and, thus, are not entitled to notice of this request to file an overlength

brief.

         RESPECTFULLY SUBMITTED this 26th day of July, 2023.

                                            ETTER, McMAHON, LAMBERSON,
                                              VAN WERT & ORESKOVICH, P.C.


                                            By:     /s/ Andrew M. Wagley
                                                  Andrew M. Wagley, ISB #10277
                                                  Samir Dizdarevic-Miller, ISB #11471
                                                  Attorneys for Plaintiff Cody J. Schueler




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